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        Case 8:04-cr-00457-JSM-AAS Document 333 Filed 06/02/05 Page 2 of 8 PageID 836
A 0 245B (Rev 12/03) Sheet 2 - Imprisonment
Defendcant:         ARGELYS MATOS-VOLQUEZ                                                                    .ludgmcnt - Page 2 of 6
Case No.:           8:04-cr-157-T-30MSS




        After considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C.
    3553(a)(I)+'),the court finds that the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


       The defendant is hereby corrmitted to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of TWELVE (12) hlOhTHS and ONE (1) DAY as to Count Nine of the Superseding
Indictment.



X The courr makes the following recommendations to the Bureau of Prisons: The defer~dantshall be placed in a correctional
institution located near New York. if possible.


     The defendant is rrrnandcd to the custody of the United Stares Marshal.
- The defendant shall surrender to the United States Marshal for h i s district.
          - at - a.m.1p.m. 011 -.
          -as notified by the United States Marshal.
- The defendant shall surrender for service of sentence at the institution designated by the Bureau o f Prisons.

          - before 2 p.m. on -.
          -as notified by the United States Marshal.
          -as notified by the Probation or Pretrial Services Oftice.


                                                                     RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                   to                                              at

                                                                       . with a certified copy of [his judgnionr.


                                                                                         LJZ&Stares Marshal
                                                                      By:

                                                                       Depury klarshal
         Case 8:04-cr-00457-JSM-AAS Document 333 Filed 06/02/05 Page 3 of 8 PageID 837
A 0 215B (Rev. 12/03) Sheer 3 - Supewiscd Release

Defendant:           ARGELYS MATOS-VOLQUEZ                                                              Judgment - Page 3of 6
Case No.:            8:04-cr-457-T-3Oi\llSS
                                                            SUPERVISED RELEASE

       Upon release from in~prisonmer~t,  the defendant shall be on supervised relcase tbr a term of FOUR (4) YEARS as to
Count Nine of the Superseding Indictment.

        The defendant shall repon to the probation office in the district to which the defendant is released within 72 hours of release
from thc custody of the Bureau of Prisons.

The defendant shall not conltnit another federal, state, or local crimc.
The defendant shall not illegally possess a controlled substance. The defendcant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within I5 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

           The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
           substance abuse. However, the Court authorizes the probntion officer to conduct random drug testing not to exceed 104 tests
           per year.

          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. if applicable.)

            If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance with
            the Schedule of Payments sheet of this jud,oment.

            The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
            conditions on the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION
            the dcfcndant shall not leave the judicial district without the permission of the court or probation ol'ticer:
            Ule defendant shall rcport to the probation officer and shall submit a truthful 'and complete written report within the first five days of each
            month:
            the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation officer;

            the dcfmdant shall support his or her dependents and meet other family responsibilities:
            the defendant shall work regularly at a lawful occupation. unless escused by the probation ofiicer for schooling training, or other
            acceptable reasons;

            the defendant shall noti& the probation officer at least ten days prior to any change in residence or employmenr;
            the defendant shall refrain from excessi\e use of alcohol and shall not purchase. posscss. use. distribute. or adrnin~sterany controlled
            substance or any paraphernalia relared to any controlled substances. ewept as prescribed by a physician;
            the dcfendant shall not frequent places \\here conrrollsd substances are illegally sold. uscd, distributed. or admmistcrsd:
            the defendant shall not associate with any penons engaged in criminal activity and shall not associa~rwith an) person convicted of a
            felony. unless granted permission lo do so by the probation ofiicer:
            the defendant shall permi1 a proba~ionofficer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband obscrvcd in plain view of the probarion oficer:
            the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned hy a la\\ enforcement oficer:
            thc dcfendani shall not enter inlo any agrcemcnt to act as an iniornw or a special agrnl or a law cnli)rcementagrncl without the
            permission of the court:
            as direcred by the probation ofliccr. thc dcfcndant shall notify third parries ofrisks rhal may be occnsioncd L.\ the dcfcndanr's criminal record
            or personal histor) or characicrisrics and shall pcrrnir the probation oilicer to make such notifications and to confirni thc dcfcndant's
            compliance uith such notilica~ionrcquircmcnt.
       Case 8:04-cr-00457-JSM-AAS Document 333 Filed 06/02/05 Page 4 of 8 PageID 838
                                -
A 0 l l 3 B (Rev. 12/03) Sheel 3C Supervised Release
--          -


Defendant:            ARGELYS MATOS-VOLQUEZ                                                            Jucignicnt - Page 4 of 6
Case No.:             8:03-cr-457-T-30IvISS
                                              SPECIAL COh~II'IONSOF SUPERVISION

           The defendant shall also comply with the following additional conditions of supcniscd release:

-
X          I f the defendant is deported, he shall not re-enter the United States without the express permission of rhe appropriate
           governmental authority.

-
X          The mandatory drug testing provisions shall apply pursuant to the Violenr Crime Control Act. Based on the probation officer's
           derernlination that additional drug urinalysis is necessary, the Court authorizes random drug resting not to exceed 104 tesrs
           per year.
       Case 8:04-cr-00457-JSM-AAS Document 333 Filed 06/02/05 Page 5 of 8 PageID 839
 A 0 2133 (Rev 12/03) Sheet 5 - Crimiml Slonetary Penalties

 Defendant:          ARGELYS MATOS-VOLQUEZ                                                   Judgment - Page 5 of 6
 Case No.:           8:M-cr-457-T-30bISS

                                           CRIhIINAL 3lONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties undcr thc schcdulc of paymcnts on Sheet 6.
                             Assessment                           -
                                                                  Fine                       Total Restitution

          Totals:            $100.00                              Waived                     N/ A


 -        The detcrnlination of restitution is deferred until .            An Ante~zdedJudgnretlr it1 a Criminal Case ( A 0 245C) will
          be entered after such determination.
 -        The defendant must make restitution (including community restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial payment, each payee shall receive an approsinlately proportioned payment, unless
          specified othenvise in the priority order or ercentace payment column below. However. pursuant to 18 U.S.C. $
          3661(i). all nonfcderal victims must be pailbefore ihe United States.
                                                                                                               Priority Order or
                                                 'Total                       Amount of                        Percentage of
 Name of Payee                                 Amount of Loss              Restitution Ordcrctl                Payment




                             Totals:           L                           S

 -        Restitution amount ordered pursuant to plea agreement S
 -        The defendant shall ay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
          before the fifteenth Ayafter the date of the judgment, pursuant to 18 U.S.C. 5 3612(0. All of the payment options on Sheet
          6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).
 -        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         -          the interest requirement is waived for the - fine      - restitution.

         -          the interesr rcquirenlent for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109.4, 1 10, 1 IOA, and 113A of Title 18 for the offenses committed
on or after September 13. 1994. but before April 23, 1996.
       Case 8:04-cr-00457-JSM-AAS Document 333 Filed 06/02/05 Page 6 of 8 PageID 840
.40 245B (Rev 12/03) Shect 6 - Schedule of Payments

Defendant:         ARGELYS MATOS-VOLQUEZ                                                         Judgment - Page G of 6
Case No.:          8:04-cr-457-T-30hlSS


                                                    SCHEDULE OF PAY&LENTS



Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties are due as follows:

                   Lump sum payment of S 100.00 due immediately, balance due
                             -not later than                      ,   or
                              -in accordance - C. - D. - E or - F below; or
                   Payment to begin inmediately (may be combined with -C, -D, or -F below): or
                   Payment in equal                 (e.g., weekly, monthly. quarterly) installments of $             over a
                   period of          (e.g., months or years), to commence              days (e.g.. 30 or 60 days) after the
                   date of this judgment; or
                   Payment in equal                (e.g.. weekly, monthly. quarterly) installments of S               over a
                   period of
                                . (e.g.. months or years) to commence                     (e.g. 30 or 60 days) after release
                   from imprisonment to a term of supervision; or
                   Payment during the term of supervised release will commence within                         (e.g.. 30 or
                   60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                   the defendant's ability to pay at that time. or
                   Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of in1                                payment of criminal
monetary penalties is due during im risonnient. All criminal monetary penalties, except                                     made through the
Federal Bureau of Prisons' Inmate $inancia1 Responsibility Program. are nlade to the
The defendant shall receive credit for all payments previously made toward any crinlinal nlonetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and
Several Amount, and corresponding payee. if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
X
-        The defendant shall forfeit the defendant's interest in the following properry to [he United States:
The Coun orders that the defendant forfeit to the United States immediately and voluntaril an and all assets and property.
                                                                                                          g d
or portions thereof, subject to forfeiture, which are in the possession or control of 1 e efendant or the defendant's
nominees. Thc Court makes final the preliniinary order of forfeirure and will attach that order to this Judgment and
Commitment Order.


Pnyinents shall be applied in [he follo\ving order: ( 1 ) assessment, (7) resrltilrloil principal, ( 3 ) restitution interest, (4) fine principal.
(51 cornrnunir) resritution, (6) fine i n w c h r (7) penal~ies,and (8) cosrs, including cost of proseculion and court cosrs.
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      Case 8:04-cr-00457-JSM-EAJ        Document 310       Filed 04/22/2005     Page 1 of 2



                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

   UNITED STATES OF AMERICA,

          Plaintiff,

                                                    CASE NO. 8:04-cr-457-T-30MSS

   ARGELYS MATOS-VOLQUEZ,

          Defendant.


                          PRELIMINARY ORDER OF FORFEITURE

         THIS CAUSE comes before the Court upon the filing of the Motion of the United

   States of America for Entry of a Preliminary Order of Forfeiture as to the assets listed

   below, which, at sentencing, shall be a final order of forfeiture as to defendant Argelys

   Matos-Volquez's interest in the following property:

                  (1)   $3,431.OO in United States Currency, seized from the person of
                        Jean Carlos Mejias Castro on September 22, 2004; and

                  (2)   $16,000.00 in United States Currency, seized from a suitcase
                        belonging to Argelys Matos-Volquez on September 22, 2004;

                  (3)   $22,000.00 in United States Currency, seized from a suitcase
                        belonging to Jean Carlos Mejias Castro on September 22, 2004

   For good cause shown, the Government's motion is GRANTED.

         The Court hereby finds that the United States has established the requisite nexus

   between the assets identified above and the offense charged in Count Nine of the First

   Superseding Indictment in violation of 21 U.S.C. §§ 841(a)(l) and (b)(l)(B)(i), to which

   defendant Argelys Matos-Volquez pled guilty. Accordingly, it is hereby

         ORDERED, ADJUDGED and DECREED that, pursuant to 21 U.S.C. § 853, all
Case 8:04-cr-00457-JSM-AAS Document 333 Filed 06/02/05 Page 8 of 8 PageID 842
      Case 8:04-cr-00457-JSM-EAJ         Document 310       Filed 04/22/2005     Page 2 of 2



   right, title, and interest of defendant Argelys Matos-Volquez in the following assets is

   condemned and forfeited to the United States of America for disposition according to

   law:

                 (1)    $3,431.OO in United States Currency, seized from the person of
                        Jean Carlos Mejias Castro on September 22, 2004; and

                 (2)    S16!000.00 in United States Currency, seized from a suitcase
                        belonging to Argelys Matos-Volquez on September 22, 2004;

                 (3)    $22,000.00 in United States Currency, seized from a suitcase
                        belonging to Jean Carlos Mejias Castro on September 22, 2004.

   The Court shall retain jurisdiction to entertain any third party petitions that may be

   asserted in these proceedings.

                 DONE and ORDERED i n Tampa, Florida o n April 22,2005.




   Copies to:    Adelaide G. Few, AUSA

                 All Attorneys of Record
